Case 23-50561-pwb       Doc 19    Filed 08/01/23 Entered 08/01/23 17:51:06            Desc Main
                                  Document     Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                         )    CHAPTER 7
                                               )
Tammy Renee McDougald,                         )
                                               )
           Debtor.                             )    CASE NO. 23-50561 - PWB


                  DEBTOR'S MOTION TO REOPEN CHAPTER 7 CASE

           Comes now Debtor through undersigned counsel, and moves this Court to Reopen

this Chapter 7 case. In support thereof, Debtor shows the Court as follows:



                                               1.

           On 1/19/2023, Debtor filed a Voluntary Petition in Bankruptcy for relief under Title

11, Chapter 7 of the United States Code.



                                               2.

           This case was closed on 5/23/2023 without issuance of a discharge.



                                               3.

           Debtor respectfully requests that her case be reopened for the purpose of filing a

Certificate that Debtor has completed the Financial Management Course required for issuance of

a discharge.
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                                   Document     Page 2 of 4




            WHEREFORE, Debtor asks that the case be reopened for the purpose of filing a

Certificate that Debtor has completed the Financial Management Course, and for such other

relief as this Court deems equitable and just.


                                                 Respectfully submitted,
                                                 KING & KING LAW LLC


                                                                                   /S/
                                                 Seth A. Evans
                                                 Attorney for Debtor
                                                 GA Bar # 966458
                                                 215 Pryor Street
                                                 Atlanta, GA 30303
                                                 (404) 524-6400
                                                 notices@kingkingllc.com
Case 23-50561-pwb        Doc 19    Filed 08/01/23 Entered 08/01/23 17:51:06            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                         )   CHAPTER 7
Tammy Renee McDougald,                         )
                                               )
           Debtor.                             )   CASE NO. 23-50561 - PWB


                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies, under penalty of perjury, that I am more than
eighteen years of age, and that on this day I served a copy of the within "Debtor's Motion to
Reopen Chapter 7 Case" upon the following by depositing a copy of same in the United States
Mail with sufficient postage thereon to ensure delivery to:


Tammy Renee McDougald
3904 OBrian Ct
Kennesaw, GA 30144

Michael J. Bargar
Chapter 7 Trustee
2987 Clairmont Road, Suite 350
Atlanta, GA 30329

Office of the United States Trustee
362 Richard B. Russell Bldg.
75 Ted Turner Drive, SW
Atlanta, GA 30303

[ATTACHED MAILING MATRIX]

           This Tuesday, August 1, 2023

                                               By:_________________________/S/
                                               Seth A. Evans
                                               GA Bar No. 966458
                                               King & King LAW LLC
                                               215 Pryor Street
                                               Atlanta, GA 30303
                                               (404) 524-6400
                                               notices@kingkingllc.com
               Case 23-50561-pwb             Doc 19       Filed 08/01/23           Entered 08/01/23 17:51:06            Desc Main
Label Matrix for local noticing                      Michael J. Bargar
                                                          Document           Page 4 of 4                  Comenity Capital
113E-1                                               Rountree Leitman Klein & Geer LLC                    PO Box 182120
Case 23-50561-pwb                                    Century Plaza                                        Columbus, OH 43218-2120
Northern District of Georgia                         2987 Clairmont Road, Suite 350
Atlanta                                              Atlanta, GA 30329-4435
Tue Aug 1 12:14:02 EDT 2023
Elizabeth M. Cruikshank                              Department of Education                              First Premier
Cruikshank Ersin, LLC                                P.O. Box 7605                                        601 South Minnesota Avenue
Suite 680                                            Fort Washington, PA 19034                            Sioux Falls, SD 57104-4824
6065 Roswell Road
Atlanta, GA 30328-4011

(p)GEORGIA DEPARTMENT OF REVENUE                     IRS                                                  Karen King
COMPLIANCE DIVISION                                  Centralized Insolvency Op.                           King & King Law LLC
ARCS BANKRUPTCY                                      P.O. Box 7346                                        215 Pryor Street, S.W.
1800 CENTURY BLVD NE SUITE 9100                      Philadelphia, PA 19101-7346                          Atlanta, GA 30303-3748
ATLANTA GA 30345-3202

Lendmark Financial                                   Tammy Renee McDougald                                Office of the United States Trustee
1745 Hwy 138                                         3904 OBrian Ct NW                                    362 Richard Russell Building
Suite A-3                                            Kennesaw, GA 30144-5259                              75 Ted Turner Drive, SW
Conyers, GA 30013-5710                                                                                    Atlanta, GA 30303-3315


PRA Receivables Management, LLC                      Pink Dogwood 13, LLC                                 Progress Residential
PO Box 41021                                         PO BOX 1931                                          215 W 125th St
Norfolk, VA 23541-1021                               Burlingame, CA 94011-1931                            Suite 410
                                                                                                          New York, NY 10027-4426


Progress Residential                                 Synchrony Bank                                       United States Attorney
7720 N. Dobson Road                                  c/o PRA Receivables Management, LLC                  Northern District of Georgia
Scottsdale, AZ 85256-2740                            PO Box 41021                                         75 Ted Turner Drive SW, Suite 600
                                                     Norfolk, VA 23541-1021                               Atlanta GA 30303-3309


Ws Badcock Corp                                      Yamasa Co. Ltd.
Ste 800                                              P.O. Box 4300
544 Mulberry St                                      Scottsdale, AZ 85261-4300
Macon, GA 31201-8261




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        End of Label Matrix
1800 Century Blvd NE Suite 9100                      Mailable recipients    19
Atlanta, GA 30321                                    Bypassed recipients     0
                                                     Total                  19
